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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
3    Branch Chief, Fresno Office
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
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7
8                             IN THE UNITED STATES DISTRICT COURT
9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                   ) Case No. 1:21-CR-00303-2-JLT-SKO
                                                 )
12           Plaintiff,                          ) APPLICATION AND ORDER
                                                 ) APPOINTING COUNSEL
13   vs.                                         )
                                                 )
14   MIRNA MEDINA,                               )
                                                 )
15          Defendant,                           )
                                                 )
16                                               )
17          Defendant, Mirna Medina, through the Federal Defender for the Eastern District of
18   California, hereby requests appointment of CJA counsel. The Federal Defenders has a conflict.
19
            On December 9, 2021, an Indictment was issued in the above captioned case. Ms.
20
     Medina had an initial appearance on the allegations in the Central District of California on June
21
     15, 2023, at which time the Court appointed counsel and ordered her released. Counsel in the
22
23   Eastern District of California is needed in advance of arraignment in order to facilitate her

24   appearance on July 5, 2023, in this district on the pending charges.

25          After reviewing his Financial Affidavit, it is respectfully recommended that CJA panel
26
     counsel be promptly appointed to facilitate her appearance.
27
            DATED: June 22, 2023                           _/s/ Eric V. Kersten
28                                                         ERIC V. KERSTEN
                                                           Assistant Federal Defender
                                                           Branch Chief, Fresno Office
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1                                               ORDER
2           Having satisfied the Court that the defendant is financially unable to retain counsel, the
3    Court hereby appoints CJA panel counsel pursuant to 18 U.S.C. § 3006A.
4
     IT IS SO ORDERED.
5
6       Dated:    June 22, 2023                               /s/ Barbara A. McAuliffe              _
7                                                      UNITED STATES MAGISTRATE JUDGE

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